       Case 9:17-cr-00009-DLC Document 100 Filed 08/30/17 Page 1 of 2


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                 IN THE UNITED STATES DISTRICT COURT           % it,,q ~
                     FOR THE DISTRICT OF MONTANA
                          MISSOULA DIVISION

UNITED STATES OF AMERICA,                            CR 17-09-M-DLC-2

                     Plaintiff,
                                                            ORDER
        vs.

IRVING HERNANDEZ-LOPEZ,

                     Defendant.


      THIS matter comes before the Court on the United States' Motion for Final

Order of Forfeiture. Having reviewed said motion, the Court FINDS:

      I. The United States commenced this action pursuant to 21 U.S.C. § 853.

      2. A Preliminary Order of Forfeiture was entered on June 23, 2017.

(Doc. 86.)

      3. All known interested parties were provided an opportunity to respond

and publication has been effected as required by 21 U.S.C. § 853(n)(l). (Doc. 94.)

      4. It appears there is cause to issue a forfeiture order under 21 U.S.C. § 853.

      It is therefore ORDERED, DECREED AND ADJUDGED that:


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         Case 9:17-cr-00009-DLC Document 100 Filed 08/30/17 Page 2 of 2



         1. The Motion for Final Order of Forfeiture (Doc. 98) is GRANTED.

         2. Judgment of forfeiture of the following property shall enter in favor of

the United States pursuant to 21 U.S.C. § 853, free from the claims of any other

party:

         •     $2,413.00 in United States Currency, and

         •     A Rossi .357 Magnum Revolver, Serial Number G0762654.

         3. The United States shall have full and legal title to the forfeited property

and may dispose of it in accordance with law.

         DATED this W     ~ay of August, 2017.




                                          Dana L. Christensen, Chief Judge
                                          United States District Court




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